Case 1:20-cv-01288-ER Document 72-1 Filed 10/09/20 Page 1 of 12




        Exhibit A
      Case 1:20-cv-01288-ER Document 72-1
                                     71-1 Filed 10/09/20
                                                10/02/20 Page 2 of 12




                                                  File No. Cl20-01-26627

                           THE QUEEN'S BENCH
                             Winnipeg Centre

IN THE MATTER OF:     THE APPOINTMENT OF A RECEIVER PURSUANT TO
                      SECTION 243 OF THE BANKRUPTCY AND INSOLVENCY
                      ACT, R.S.C., C.B-3, AS AMENDED, AN SECTION 55 OF
                      THE COURT OF QUEEN'S BENCH ACT,C.C.S.M., C.C280,
                      AS AMENDED

IN THE MATTER OF THE PROPOSAL OF NYGARD GROUP OF COMPANIES

BETWEEN:
                 WHITE OAK COMMERCIAL FINANCE, LLC,
                                                           Applicant,
                                  - and -

  NYGARD HOLDINGS (USA) LIMITED, NYGARD INC., FASHION VENTURES ,
  INC., NYGARD NY RETAIL,LLC., 4093879 CANADA LTD., 4093887 CANADA
   LTD., NYGARD INTERNATIONAL PARTNERSHIP, NYGARD PROPERTIES
                 LTD., and NYGARD ENTERPRISES LTD.,
                                                      Respondents.



                       NOTICE OF MOTION
        HEARING: WEDNESDAY, SEPTEMBER 30, 2020AT10:00 a.m.
         BEFORE THE HONOURABLE MR. JUSTICE J. G. EDMOND




              LEVENE TADMAN GOLUB LAW CORPORATION
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                          File No. 113885/WMO
        Case 1:20-cv-01288-ER Document 72-1
                                       71-1 Filed 10/09/20
                                                  10/02/20 Page 3 of 12




                                                                File No. Cl20-01-26627

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                                 Winnipeg Centre

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IN THE MATTER OF THE PROPOSAL OF NYGARD GROUP OF COMPANIES

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                     LTD., and NYGARD ENTERPRISES LTD.,
                                                         Respondents.

                                NOTICE OF MOTION


       The Respondents will make a Motion before The Honourable Justice J. G.

Edmond, on Wednesday, September 30, 2020, at 10:00 a.m. , or as soon after that time

as the motion can be heard, at the Law Courts Building, 408 York Avenue, Winnipeg,

Manitoba.


THIS MOTION IS FOR:


1.     An Order pursuant to the Queen's Bench Rules and the Queen's Bench Act and

the inherent jurisdiction of this Honourable Court abridging the time for service of the
        Case 1:20-cv-01288-ER Document 72-1
                                       71-1 Filed 10/09/20
                                                  10/02/20 Page 4 of 12




Notice of Motion and materials filed in support of this Motion and dispensing with further

service thereof;


2.    An order directing the Receiver and its qualified IT and Accounting professionals,

who are familiar with the servers architecture and various folders and accounting

software, to allow a representative of Sandra L Fawcett Chartered Professional

Accountant ("Fawcett") to obtain remote or in person access to the servers currently

located at the Inkster Property, 1771 Inkster Blvd, Winnipeg, Manitoba (the "Inkster

Property") together with the Physical Records (as defined in the   ath   Report) located at

Inkster Property and Broadway Property, 702&708 Broadway Ave, Winnipeg, Manitoba

(the "Broadway Property") forthwith .


3.    With respect to the documents on the IT Systems (as defined in the gth Report), an

Order that Fawcett shall be permitted to obtain full supervised "Read Only" access to the

computers and servers to pull reports from any software and make copies of all data,

including but not limited to emails and reports on the servers and computers to ensure:


       (a)    That Fawcett has copies of all records required in relation to the

              respondents, other corporations and personal records; and,


       (b)    Compliance with all documents required to be produced with respect to any

              ongoing litigation, including but limited to, the subpoenas issued from the

              US attorney's office.
        Case 1:20-cv-01288-ER Document 72-1
                                       71-1 Filed 10/09/20
                                                  10/02/20 Page 5 of 12




4.     An Order directing the Receiver to produce to Fawcett and counsel for the

Respondents a copy of the User Generated Electronic Files as defined by the Receiver

in its reports to the Court.


5.     An Order allowing the respondents to preserve documents related to any litigation

involving the respondents, Peter J Nygard and or any employees of the respondents, by

providing those documents (or copies of the documents) to the respondents forthwith.


6.     An Order directing the Receiver to provide:


       (a)     an updated Statement of Receipts and Disbursements (the "Updated

               SRO") up to and including September 30, 2020 (the date that the Canadian

               Liquidation Sale is to be completed) (the "Seventh Report");


       (b)     projections of future receipts through to the conclusion of the proceeding

               (excluding any proceeds from the potential sale of any additional real

               property);


       (c)     an accounting of amounts paid to the Landlords on account of Rent to

               September 30, 20202;


       (d)     projections on amounts owing on account of Rent to Landlords all of which

               are subject to the Landlords' Charge (all capitalized terms herein are as

               defined in the Landlord Terms Order dated June 2, 2020); and


       (e)     actual (or, if unavailable, projected or estimated) payments outstanding to

               parties with claims in priority to unsecured creditors.
        Case 1:20-cv-01288-ER Document 72-1
                                       71-1 Filed 10/09/20
                                                  10/02/20 Page 6 of 12




7.     An Order directing the Receiver not to accept any further offers on the Inkster

property or Broadway property until further order of the Court;


8.    An Order lifting the stay of proceedings in the within proceedings for the purpose

of permitting the Respondents (or any combination of them) to file a Notice of Intention to

File a Proposal;


9.    An Order discharging the Receiver; and


10.   Such further and other relief as this Honorable Court may deem just.


THE GROUNDS FOR THE MOTION ARE:

      Background


1.    All capitalized terms not otherwise defined in this section shall have the meaning

ascribed to them in the Eighth Report of the Receiver dated September 28, 2020 (the

"Eighth Report").


2.    The Receiver was appointed pursuant an Order of the Honourable Justice Edmond

dated March 18, 2020 (the "Appointment Order'').           The Appointment Order was

amended to limit the scope of the Receiver's appointment as it pertained to Nygard

Enterprises Ltd. ("NEL") and Nygard Properties Ltd. ("NPL") as further described in the

General Order. Specifically, the General Order limited the Receiver's appointment to NPL

and NEL property, assets, and undertaking that were subject to the Lenders' (as defined

in the First Report) security supporting certain limited recourse guarantees.
        Case 1:20-cv-01288-ER Document 72-1
                                       71-1 Filed 10/09/20
                                                  10/02/20 Page 7 of 12




3.     Since the Appointment Order, the Receiver has, amongst other things (collectively,

the "Transactions"):


       (a)    negotiated and closed a sale of the Notre Dame Property;


       (b)    Negotiated a settlement with Dillards Inc. which was the subject of the

              Dillard's Settlement Approval Order


       (c)    negotiated and closed a sale of the Toronto Property; and


       (d)    completed, with the assistance of Hilco, a liquidation of the Respondents'

              inventory and collection of certain outstanding accounts receivable.


       Respondents' Financial Position


4.    The Seventh Report of the Receiver dated September 10, 2020 (the "Seventh

Report") disclosed that the Lenders have been fully repaid their indebtedness owing by

the Respondents (the "Respondents' Borrowings") and that the advances made by the

Lenders to the Receiver in accordance with the Appointment Order (the "Receiver's

Borrowings") have been repaid. The Seventh Report also disclosed that after payment

of the Respondents' Borrowings and the Receiver's Borrowings, the Receiver held in

excess of $9.2 million dollars as at September 5, 2020 (the "Net Proceeds").


5.    The Seventh Report also discloses that to ensure the Lenders have been

indefeasibly repaid, it has reserved $6.1 million of the Net Proceeds to address any claims

(the "Priority Claims Reserve").
        Case 1:20-cv-01288-ER Document 72-1
                                       71-1 Filed 10/09/20
                                                  10/02/20 Page 8 of 12




6.    The Eighth Report discloses that between September 5, 2020 to September 19,

2020 the Net Proceeds had increased to in excess of $12 million (the "Updated Net

Proceeds"), while the Priority Claims Reserve has been reduced to $2.1 million

("Updated Priority Claims Reserve").


7.    While the Eighth Report is not clear on amounts outstanding to the Landlords and

subject to the Landlords' Charge (as defined in the Landlord Terms Order), paragraph 38

of the Eighth Report states "the Receiver estimates that there are approximately $5.5

million in accrued costs relating to payroll and vacation pay costs (including applicable

government remittances), sales taxes, operating expenses, rent and fees owing to the

Consultant" [emphasis added] (collectively, the "Operating Costs").


8.    The Eighth Report advises that the Liquidation Sale ended on September 27,

2020. Presumably the additional eight days of sales will only increase the Updated Net

Proceeds.


9.    As at September 19, 2020, the Receiver is holding approximately $4.4 million, net

of the Updated Priority Claims Reserve and the Operating Costs (the "Unsecured

Funds"). These funds are presumably available to unsecured creditors. Further (and

perhaps more importantly), the Receiver has not sold the Inkster Property and the

Broadway Property.


10.   While the Respondents acknowledge that a retail clothing business is likely not

going to continue, the Inkster Property and the Broadway Property, together with the

Unsecured Funds and other assets not subject to this proceeding, could form the basis
        Case 1:20-cv-01288-ER Document 72-1
                                       71-1 Filed 10/09/20
                                                  10/02/20 Page 9 of 12




of an ongoing real estate based business. A business which, if the unsecured creditors

agree, could provide for a material return to creditors.


       Document Transfer Motion


11.    The Eighth Report notes that the IT Systems and the Physical Records of the

Respondents are located at the Inkster Property and the Broadway Property.          The

Receiver notes that moving the IT Systems and the Physical Records is not a small task:

It consists of removing 213 servers and approximately 5, 100 boxes. Further the Receiver

acknowledges that "the IT System is relatively antiquated with many of the servers at or

near end of life in terms of operability and/or storage space, therefore "unplugging",

dismantling and moving the IT System carries a high degree of risk of impairment to the

functionality of the IT System" [emphasis added].


12.    The Eighth Report also confirms that neither the Inkster Property, nor the

Broadway Property have been sold. Further, while the Receiver states that "as noted in

the Second Report [dated May 27, 2020] the Receiver accepted a conditional offer on the

Inkster Property, which it continues to advance with the prospective purchaser", the

Receiver continues to offer the Inkster Property for sale to third parties, without any

suggestion that the Inkster Property an offer on the Inkster Property would subject to a

previously negotiated conditional offer.


13.    Notwithstanding that a sale of the Inkster Property and the Broadway Property is

not imminent, the Receiver is proposing to provide the Respondents with 10 days to

determine which Respondent will take responsibility for the Redundant Records and then
       Case 1:20-cv-01288-ER Document 72-1
                                      71-1 Filed 10/09/20
                                                 10/02/20 Page 10 of 12




a further 15 days to determine where to store the Redundant Records and make

arrangements to pick up said Redundant Records. The time period is unreasonable, and

the document transfer is likely not necessary at all as efforts should be focused on

assisting the Debtors in preserving the remaining assets so they can make a proposal to

unsecured creditors that is better than simply liquidating assets and distributing funds.


14.    The Nygard computer system is able to provide "read only" access to third parties.

Further, there is no reason for the respondent's access to the IT Systems to be limited to

the redundant documents if produced by way of "Read Only" Access.


       Discharge of Receiver and Appointment of a Proposal Trustee


15.    The Receiver's appointment was pursuant to an application made by the Lenders

as a means of enforcing upon its security. While the Receiver is a court appointed officer,

its authority is (or was) derived from the Lenders' security.       In order to achieve its

mandate, the Receiver must account for priority payables (such as employee source

deductions and claims pursuant to section 81.4 of the Bankruptcy and Insolvency Act the

"BIA") and satisfy court ordered priority charges (such as the Landlords' Charge). The

Receiver has completed this portion of its mandate and has, by its own admission,

indefeasibly repaid the Lenders.


16.    The Receiver generally has an obligation to satisfy the Court that it has either: (a)

liquidated all of the Respondents property, assets, and undertaking and the Lenders are

still suffering a shortfall; or conversely (b) that it is comfortable all creditors (including

unsecured creditors) can be paid in the ordinary course.
       Case 1:20-cv-01288-ER Document 72-1
                                      71-1 Filed 10/09/20
                                                 10/02/20 Page 11 of 12




17.   While the foregoing is a general statement, paragraph 15 above does not apply in

the event that the Respondents are prepared to continue in a court supervised process

overseen by a court officer, such as a proposal process under the BIA (the "BIA Proposal

Process").


18.   Further, with the lenders being indefeasibly repaid, it is unclear whether NEL and

NPL are insolvent.


19.   The Respondents propose a discharge of the Receiver, contemporaneously with

the Respondents submitting to a BIA Proposal Process.


20.   The Respondents acknowledge that only two weeks ago it sought and obtained an

Order withdrawing its previous BIA Proposal Process and discharging A. Farber &

Partners Inc. ("Farber") as Proposal Trustee (the "Proposal Withdrawal Order''). The

Proposal Withdrawal Order was part of a larger, multi-party settlement referred to as the

E/B Settlement Agreement.      The Proposal Withdrawal Order ended a BIA Proposal

Process that contemplated a 150 store retail restructuring which is no longer the reality.

Further, the Proposal Withdrawal Order gave access to a significant sum of funds held by

Farber as a retainer for a possible bankruptcy. Those retainer funds were used to fund

the E/B Settlement Agreement which was a benefit to the Respondents' stakeholders.


21.   In contemplation of the Receiver completing its mandate, the Respondents have

retained Albert Gelman Inc. ("AGI"), a licensed insolvency trustee, as its financial

consultant. The Respondents are confident that if AGI is appointed as proposal trustee,
          Case 1:20-cv-01288-ER Document 72-1
                                         71-1 Filed 10/09/20
                                                    10/02/20 Page 12 of 12




it will be able to coordinate with the Receiver regarding any transition related matters and

protect the interest of the Respondents' stakeholders.


22.    Finally, the Respondents note that the Receiver's fees and disbursements on this

matter since the Appointment Order, as reported to this court (including the fees and

disbursements of its Manitoba and New York counsel), are in excess of CON $4 million

dollars. If the Respondents cannot make a going concern proposal to their unsecured

creditors, they believe they (with AGl 's assistance and oversight) can complete a cost

effective liquidation of the remaining assets.


23.    Such further and other grounds as counsel may advise and this Honorable Court

may permit.


THE FOLLOWING DOCUMENTARY EVIDENCE will be used at the hearing of the

motion:


1.     Affidavit of Greg Fenske, sworn September 29, 2020; and,


2.     Such other material to be filed and allowed.




Date: September 29, 2020                  LEVENE         MAN GOLUB
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